           Case 2:06-cr-00307-RSM        Document 72      Filed 09/22/06    Page 1 of 3




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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.     CR06-307 RSM
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    QUOC SI LE,                  )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Conspiracy to Distribute Marijuana, in violation of Title 21, U.S.C., Sections
18            841(a)(1), 841(b)(1)(B), and 846.
19 Date of Detention Hearing: September 20, 2006
20            The Court, having conducted a contested detention hearing pursuant to Title 18
21 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
22 hereafter set forth, finds that no condition or combination of conditions which the defendant
23 can meet will reasonably assure the appearance of the defendant as required and the safety
24 of any other person and the community. The Government was represented by Lisca
25 Borichewski. The defendant was represented by Phil Brennan.
26


     DETENTION ORDER
     PAGE -1-
           Case 2:06-cr-00307-RSM        Document 72      Filed 09/22/06    Page 2 of 3




 1       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2           (1)    There is probable cause to believe the defendant committed the drug
 3                  offense. The maximum penalty is in excess of ten years. There is
 4                  therefore a rebuttable presumption against the defendant’s release based
 5                  upon both dangerousness and flight risk, under Title 18 U.S.C. §
 6                  3142(e).
 7           (2)    Due to the nature of the instant offense, Defendant’s extensive criminal
 8                  history and his association with an alias name, he is viewed a risk of
 9                  danger.
10           (3)    Defendant is viewed as a risk of non-appearance due to his questionable
11                  immigration status and strong family ties to Vietnam.
12           (4)    The strength of the Government’s case is based upon a search of the
13                  defendant’s residence where ten pounds of marijuana was found
14                  concealed in his infant son’s bedroom.
15   Based upon the foregoing information, it appears that there is no condition or
16   combination of conditions that would reasonably assure future Court appearances and/or
17   the safety of other persons or the community.
18           It is therefore ORDERED:
19           (l)    The defendant shall be detained pending trial and committed to the
20                  custody of the Attorney General for confinement in a correction facility
21                  separate, to the extent practicable, from persons awaiting or serving
22                  sentences or being held in custody pending appeal;
23           (2)    The defendant shall be afforded reasonable opportunity for private
24                  consultation with counsel;
25           (3)    On order of a court of the United States or on request of an attorney for
26                  the Government, the person in charge of the corrections facility in which

     DETENTION ORDER
     PAGE -2-
         Case 2:06-cr-00307-RSM      Document 72       Filed 09/22/06    Page 3 of 3




 1               the defendant is confined shall deliver the defendant to a United States
 2               Marshal for the purpose of an appearance in connection with a court
 3               proceeding; and
 4         (4)   The clerk shall direct copies of this order to counsel for the United
 5               States, to counsel for the defendant, to the United States Marshal, and to
 6               the United States Pretrial Services Officer.
 7         DATED this 22ndday of September, 2006.
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11
                                                    A
                                                    MONICA J. BENTON
12                                                  United States Magistrate Judge

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     DETENTION ORDER
     PAGE -3-
